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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 MAI-AJAH KEEL,                           )
                                          )
                      Plaintiff,          )
                                          )
              v.                          )
                                          )
 DELAWARE STATE UNIVERSITY                )         C.A. No. 17-1818 (MN)
 BOARD OF TRUSTEES; CANDY                 )
 YOUNG, in her individual capacity; PAULA )
 DUFFY, in her individual capacity; and   )
 RANDOLPH JOHNSON, in his individual      )
 capacity,                                )
                      Defendants.         )

                                            ORDER

               At Wilmington this 8th day of February 2019:

               For the reasons set forth in the Memorandum Opinion issued this date,

               IT IS HEREBY ORDERED that:

               1.      Plaintiff’s Objections to the Report and Recommendation (D.I. 20) are

OVERRULED.

               2.      The Report and Recommendation (D.I. 19) is ADOPTED.

               3.      Defendants’ Motion to Dismiss Plaintiff’s Complaint (D.I. 10) is

GRANTED and the Complaint is dismissed WITHOUT prejudice.

               4.      Plaintiff shall have forty-five (45) days to file an Amended Complaint to

cure the deficiencies set forth in the Memorandum Opinion. Failure to do so will result in the

Clerk of Court closing this case.




                                                    The Honorable Maryellen Noreika
                                                    United States District Judge
